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       Exhibit A
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RESPONSIBLE
GROWTH
REPORT


Spring 2021




A resource for evaluating our environmental
performance and informing action at RELX
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                                                        Summary . . . . . . . . . 3
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                                                        Barriers . . . . . . . . . . 6
       culture of integrity, where team members
                                                        Policies . . . . . . . . . . 16
       are encouraged to ask questions, speak up,
       and report concerns. The information con-        Progress . . . . . . . . . 21
       tained in this report is not exhaustive and
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       will be updated every 6 months or fewer.
       Subsequent editions will be posted here.         Appendix B . . . . . . . . . . . 23
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SUMMARY
RELX has set ambitious goals towards
addressing the environmental impacts of
our businesses. Built around the U.N. Sus-
tainable Development Goals (SDGs), our
goals center on accelerating a transition to
a clean energy economy and setting
science-based emissions targets in line with
limiting warming to 1.5°C above pre-indus-
trial levels.1 Papers published by Elsevier
indicate this initiative requires a worldwide
decrease in fossil fuel production of roughly
7.6% per year between 2020 and 2030,2
with over 80% of all proven fossil fuel
reserves being left in the ground.3

While we’ve made some progress towards
our goals, there currently exist a number of
barriers within the company that will pre-
vent success. Different business units within
RELX have initiatives, products, and ser-
vices that are expanding fossil fuel produc-
tion that will generate impacts well beyond
2030. Our business activities that are
enabling oil and gas discoveries and pro-
duction, expediting new drilling methods,
stimulating vast expansions of coal mining,
facilitating the destruction of the Amazon,
promoting climate change denial, and hin-
dering urgently needed climate legislation
are impactful to all the SDGs. As Elsevier
markets ScienceDirect, our journals, and
our books as means for the oil and gas
industry to continue “accelerating their
discoveries”4, our company has positioned
itself as a driver of increased fossil fuel
extraction.
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    FIGURE 1: PROJECTED CHANGE IN OIL PRODUCTION
    TO 2030 BY COMPANY
                                                                                    This business activity is a net loss for the
                                                                                    climate, but none of the resulting extra
                             4. 5                               +52%
                                                                                    carbon emitted is reflected in our pub-
                             4. 0                                                   lished footprint data. This oversight and
                                                                                    others can be corrected by more closely
                             3. 5
                                                                                    observing the array of value-based com-
Million barrels per day




                             3. 0
                                     +8%                                            pany policies already in place that, if
                                                                     +22%           fully implemented, will enable us to meet
                             2. 5
                                             +11%
                                                                                    our goals and help mitigate the threats
                                                                             +12%
                             2. 0                                                   of climate change. These policies compel
                                                                                    us to address our contribution to exist-
                              1. 5
                                                    +21%                            ing or potential environmental and
                             1. 0                                                   human rights impacts—ones that occur
                                                                                    through our business relationships, from
                             0. 5
                                                                                    the use of our products and services, or
                             0. 0                                                   by our own activity.
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                                                                                    RELX has incorporated climate change
                                                  Eq
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                                         C




                                                     Ex




                     2019            2030                                           scenarios into our climate change risk
    FIGURE 2: PROJECTED CHANGE IN GAS PRODUCTION
                                                                                    assessment and has not identified any
    TO 2030 BY COMPANY                                                              significant risks to the business.5 Yet as a
                               14                               +27%                leading publisher of climate research, we
                                                                       +1%          continually identify “severe and irrevers-
                               12    +17%                                           ible impacts” that are destroying the
                                                                                    “foundations of our future well-being.”6
                                                                                    That future will surely put extreme pres-
Billion cubic feet per day




                              10
                                                                             -2%    sure on almost every revenue stream of
                                             -11%
                                8                                                   our businesses. Immediate action
                                                                                    towards achieving progress can differen-
                                                    -6%
                                6                                                   tiate RELX as an environmental leader,
                                                                                    produce a competitive edge by moving
                                4                                                   us to the forefront of the transition to a
                                                                                    low-carbon economy, build resilience
                                2                                                   against regulation, raise investor confi-
                                                                                    dence, increase innovation, safeguard
                                0                                                   our reputations, and secure our core
                                                                                    mission to benefit society.
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                                                       Ex




                     2019            2030
    Source: Rystad Energy UCube
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5   RELX   Responsible Growth Report | Spring 2021




GOALS
RELX is committed to advancing the
U.N. Sustainable Development Goals
(SDGs)1, a shared blueprint for the
planet grounded in human rights law2
that contains what we’ve affirmed are
essential objectives for the world.3 The
SDGs are integrated and interrelated,
simultaneously a claim about human
rights and the climate.4 As we tackle
health, education, and inequality, we
recognize that “if it continues unabated,
climate change will reverse progress
made across all SDGs.”5

Aligning with the SDGs, RELX Group
has committed us to the global effort
to keep warming from progressing
beyond 1.5°C6—which means we’re
committed to reducing the quantity of
absolute greenhouse gases in the
atmosphere.7 Alarmingly, humanity
currently plans to produce more than
double the amount of fossil fuels in
2030 than would be consistent with
that temperature limit.8 To meet the
goal of no more than a 1.5°C increase,
the world will need to decrease fossil
fuel production by roughly 7.6% per
year between 2020 and 20309 and
leave 80% of all proven fossil fuel
reserves in the ground.10

What follows are some barriers to
achieving this goal that presently exist
within the scope of RELX’s business.
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6   RELX   Responsible Growth Report | Spring 2021




BARRIERS                                                                                    “ There’s really nobody in [the oil and gas]
                                                                                              industry planning for a true transition away
                                                                                               from fossil fuels,”
                                                                                                                 —Andrew Logan, senior director
                                                                                                                  of oil and gas at Ceres1




    Elsevier R&D Solutions                                                       ...7


    Exhibitions                  . . . . . . . . . . ...................8


    Books and Journals                                              . . . . . . . . . 13


    Political Action                            . . . . . . . . . . . . . . . . . . . 14


    Investments                      . . . . . . . . . . . . . . . . . . . . . . . . . 15
                                          BARRIERS
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       Elsevier R&D Solutions
The world has discovered more fossil fuels than we can safely
use and any new oil and gas projects or infrastructure are incon-
sistent with the Paris climate goals. While Elsevier helps to lead
in such badly needed areas as green and sustainable chemistry,
we’re abandoning our climate goals by offering data-driven
analysis and services2 intended to “stimulate global oil and
[well] production for decades to come.”3


N E W PA RTNERSHIPS                                            N E W T E C HN IQU E S

Partnerships between data analytics services and fossil        Our business empowers customers to “dig deeper and
fuel companies are now found in every phase of oil and         discover more”17 by helping them “identify new technolo-
gas production. New information technologies are playing       gies and materials…for optimizing production and improv-
a key role in industry expansion, with advanced analytics      ing rates of recovery.”18 Building on extraction advances,
and modeling estimated to add over $400 billion in value       our services facilitate increased recoverability of heavier
to the oil and gas industry by 2025.4 Elsevier currently has   crude in oil sands, refracking opportunities, stimulation of
a portfolio of solutions and data management services          declining wells, and other new techniques called
that are developing strategies to attain significant produc-   enhanced oil recovery (EOR).19 With half the carbonate
tion gains for the fossil fuel industry5—including for 60%     reservoirs in the world being fractured and resistant to
of Fortune 500 oil and gas companies.6                         EOR techniques, Elsevier asserts that there’s much to be
                                                               gained by new technologies that can locate “hydrocarbon
                                                               accumulations that we couldn’t find before” and unearth
N E W F RO N TIERS                                             “opportunities to access and accelerate reserves.20

Marketing our expertise and knowledge (including maps          The best available science from the Intergovernmental
from Elsevier’s Earth Science journal collection7) as tools    Panel on Climate Change shows that continuing the
to expand production, services such as Geofacets8 and          expansion of oil and gas production puts our climate
Knovel9 guide companies in prioritizing opportunities to       goals well out of reach—and ceasing exploration is not
“accelerate their exploration efforts”10 and “maximize total   enough. The reserves in currently operating oil and gas
recoverable volumes of oil and gas resources”11 in estab-      fields alone, even with no coal, would take us beyond
lished resource-rich areas.12 But we also promote our          1.5°C.21 With oil company CEO pay linked to continued
applied R&D as playing a “critical role”13 in enabling the     extraction of fossil fuels22 and only 1 of 8 oil majors
expansion of the fossil fuel industry into “riskier, more      committed to cutting oil and gas production over the next
remote areas that had previously been inaccessible.”14         decade, companies that court fossil fuel firms with
With aims to open up ultra-deepwater development,              high-powered data computation capabilities are acceler-
expand exploitation of tar sand deposits, and unleash the      ating us towards catastrophic global warming.23
“the petroleum potential of the Arctic… the last major
frontier for conventional oil and gas exploration,”15
services like ours are now considered “a critical toolkit
[for] fossil fuel companies.”16
                                     BARRIERS
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     Exhibitions
With the phasing-out of coal “advocated       While not ignoring questions of cleaner
as one of the simplest and most effec-        methods and environmental regulations,
tive means of reducing carbon emis-           our events that cater to extraction indus-
sions,”24 former UN climate chief Christi-    tries directly help participants expand
ana Figueres has observed that there’s        global production of new fossil fuel
“no space” for new coal developments.25       reserves—especially coal.
The Lancet has called for a rapid exit
from coal and our journals have               Here are some examples:
observed that coal is the single largest
source of global temperature increase.26
Reed Exhibitions featured a blog post
this year with a headline emphasizing
that eliminating coal “needs to be a
global priority.”27
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M I NI N G


MINING & ENGINEERING INDONESIA
This event helps participants gain “an increased share of Indonesia’s
fast-growing mining industry.”28 A 2020 deregulation initiative pushed
by this industry stripped environmental protections around coal mining
in Indonesia—one of the world’s top exporters of fossil fuels—in order
to “maximize natural resource exploitation.”29


WA MINING CONFERENCE AND EXHIBITION
ASIA-PACIFIC'S INTERNATIONAL MINING EXHIBITION (AIMEX)
QUEENSLAND MINING & ENGINEERING EXPO (QME)
These are mining events in Australia, the world's biggest exporter of coal.
With Australia’s six biggest coal producers creating more greenhouse
gas emissions each year than the entire domestic economy,30 these
events are meant to help participants grow their businesses and boost
productivity.

These businesses include:




    BHP             Like many, BHP funds fossil fuel lobbyists in Australia; the
                    government has subsequently granted BHP approval to
                    repeatedly increase carbon emissions. Elsevier has an ongoing
                    project with BHP that enables them to “rapidly respond to new
                    opportunities.”31


    Glencore        Despite promising investors it would cap production, Glencore
                    is now using its government influence to try to open a new
                    35-year open-cut coalmine. It is also currently the subject of a
                    human rights complaint in Chad due to the effects of toxic
                    waste on locals.32


    Anglo           The company’s operations in Latin America have brought
    American        pollution, water scarcity, disease, land degradation, destruction
                    of glaciers and native species, food and water scarcity, disease,
                    and death to local inhabitants. It has now submitted nearly
                    300 applications to mine in the Brazilian Amazon, in areas that
                    overlap with the territories of indigenous peoples.33


                    The 3 entities immediately above—BHP, Glencore and Anglo
                    American—are also collectively being investigated for environ-
                    mental and human rights abuses from operations in Latin
                    America’s largest open pit mine.34
                                    BARRIERS
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                                                            “Either we stop
Peabody
Energy
             America's biggest coal mining company
             works to deny the existence of climate
                                                            this addiction
             change, extensively lobbying against           to coal or all
             regulations by claiming that rising CO2
             emissions are actually beneficial and "the
                                                            our efforts to
             elixir of life."35                             tackle climate
Adani        In 2022, our QME Mining Pavilion will host
                                                            change will be
             Adani,36 owner of one of the world’s largest   doomed.”
             untapped coal reserves (Carmichael coal
                                                            Energy Geoscience, 2021
             mine)37 where it plans to begin production     Elsevier 45
             this year on what’s been called “the world’s
             most insane energy project.”38 This is being
             done despite corporate pressure,39 activist
             pressure,40 and “significant data gaps and
             scientific uncertainties” found throughout
             their environmental assessment.41 Projected
             to add 4.6 billion tons of carbon pollution
             to our atmosphere,42 it will destroy Indige-
             nous homelands43 and facilitate additional
             coal mines in one of the largest proposed
             expansions of mining on Earth.44
                                          BARRIERS
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OF F SHO RE DRILLING


ARCTIC AND EXTREME ENVIRONMENTS
INTERNATIONAL
A conference and exhibition for offshore exploration
and production of the “90bn barrels of oil lying in
Arctic territories and 30 per cent of the world’s
undiscovered gas resources.”46



ENGENIOUS
An event focusing on emerging
products, services, and techniques.47



SPE OFFSHORE EUROPE
A resource for construction of new
facilities and attracting investment.48



SANTOS OFFSHORE OIL & GAS EXPO
Supports the continuing growth
of Brazil’s oil and gas industry.49



BRAZIL OFFSHORE
Centers on the “development of the
oil and gas sector” in Brazil, aiming
to generate new business and
“meet the demands and projects
of operators winning auctions” for
new oil and gas production.50
                                         BARRIERS
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B I OF UEL S

FENASUCRO & AGROCANA

Fenasucro & Agrocana is “the main fair of bioenergy and the sugar-energy
sector in Latin America.” It’s held annually in Brazil, touted as “the country
                                                                                 “Addressing
with the highest production potential in the world.”51 Brazilian biofuels are    climate change
considered a threat to the planet’s climate,52 with a 2019 decree enabling
sugarcane production in the Amazon53 that is capable of creating “a carbon
                                                                                 is a health and
debt that could take centuries to offset.”54 Rejecting RELX’s interest in        human rights
reducing deforestation and protecting rainforests,55 this activity accelerates
deforestation and is a major threat to the Amazon.56
                                                                                 priority, and
                                                                                 action cannot
                                                                                 be delayed.”
                                                                                 Annals of Global Health, 2015
                                                                                 Elsevier 57
                                           BARRIERS
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        Books and Journals
Oil and gas production can decline at
a pace aligned with 1.5°C by ceasing                                  BOOKS:
                                                                      Arctic Pipeline Planning; Arctic Offshore Engineering;
investments in new fields, stopping                                   Handbook of Offshore Oil and Gas Operations; Deep Shale
production of new reserves, and                                       Oil and Gas; Unconventional Oil and Gas Resources Hand-
                                                                      book; Dynamic Well Testing in Petroleum Exploration and
starting the phase-out of some exist-                                 Development; Deepwater Drilling: Well Planning, Design,
ing production,58 but Elsevier has                                    Engineering, Operations, and Technology Application;
                                                                      Enhanced Recovery Methods for Heavy Oil and Tar Sands;
positioned itself as a driver of fossil
                                                                      Energy Potential of the Russian Arctic Seas; Petroleum
fuel production by explicitly market-                                 Production Engineering; Hydraulic Fracturing in Unconven-
ing ScienceDirect, our journals, and                                  tional Reservoirs: Theories, Operations, and Economic
                                                                      Analysis; Elsevier's Developments in Petroleum Science 70+
our books as a means for the oil and                                  volume book series.
gas industry to continue “accelerat-
                                                                      JOURNALS:
ing their discoveries.”59                                             Journal of Petroleum Science and Engineering
                                                                      Editor-in-Chief works for: Quantum Reservoir Impact LLC
                                                                      (QRI has “a goal to create lasting value for our clients,
While we publish an expansive array                                   helping them realize increases in production, reserves
of books and papers that are firmly in                                appreciation and capital efficiency…[They] currently partner
                                                                      with the largest national oil companies in the world.”63) and
line with our mission, including those                                has authored papers about the importance of data-sci-
dedicated to renewable energy,                                        ence-derived technologies in enabling moves into more
                                                                      challenging and remote locations to explore and produce
renewable energy sources are not
                                                                      hydrocarbons.64
replacing fossil fuels; it’s misleading
to characterize the growth in renew-                                  Upstream Oil and Gas Technology
                                                                      Editor-in-Chief works for: Shell International Exploration &
able energy as a ‘transition,’ and                                    Production Inc. (Oil and gas exploration and extraction
doing so could inhibit the implemen-                                  services; not yet aligned to its net-zero pledge65) and has
                                                                      co-authored an Elsevier paper on Shell-developed technolo-
tation of meaningful policies aimed at                                gy for EOR applications.66
reducing fossil fuel use.60
                                                                      Journal of Natural Gas Science and Engineering
                                                                      Editor-in-Chief works for: Shell Technology Center Houston
Many of our authors, editors, and                                     (Currently focused on deepwater and exploration R&D and
                                                                      unconventional hydrocarbon resources for heavy oil and oil
journal advisory board members are                                    shale67)
current employees of fossil fuel com-
                                                                      Petroleum Exploration and Development
panies failing to comply with the
                                                                      Editor-in-Chiefs works for: PetroChina Research Institute of
Paris Agreement*, presenting signifi-                                 Petroleum Exploration & Development (Exploration and
cant conflicts of interest as it pertains                             development of major plans of oil/gas production)

to our climate commitments. Here                                      Unconventional Resources
are some examples of publications                                     Editor-in-Chiefs works for: Chevron (Chevron has been
                                                                      found guilty in an $8 billion Ecuadorian human rights and
that are instructing and expanding                                    environmental case68; it currently meets none of the criteria
the exploration, development, and                                     related to net-zero ambition by 205069 and is currently
                                                                      being sued for greenwashing.70)
optimization of “vast new natural gas
and oil resources.”61



*These companies include Abu Dhabi National Oil Company, BP,
Chevron, ConocoPhillips Co., ExxonMobil, Kuwait Petroleum,
PetroChina, Saudi Aramco, and Shell—all of which are among the 20
companies that, since 1965, have contributed to over a third of all
worldwide energy-related carbon dioxide and methane emissions.62
                                    BARRIERS
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     Political Action                  (U.S.)




“There isn't any real science
to say we are altering the
climate path of the earth.”
                        — Roy Blunt (MO) 71
                          REPAC funds recipient




We hold that only governments                     RESEARCH
                                                  Elsevier’s Sustainability Science in a Global Landscape
“can realistically plan for and trig-             report explains that “policy that stimulates research to
ger every component of an orderly                 address the challenges in sustainable development is
                                                  essential.”75 Climate research is currently dominated by
low-carbon transition”72, with their              studies from the U.S. In addition to universities, the top 10
cooperation indispensable to effec-               organizations that contribute the most to the literature on
                                                  climate change are all U.S. agencies that have had
tively “eliminate economic, structur-             budgets slashed under the guidance of RELX-supported
al, and social barriers to change.”73             political figures who publicly regard the climate emergen-
                                                  cy as a hoax.76 (see Appendix A).
Despite this, REPAC—RELX’s U.S.
Political Action Committee—is                     DENIAL
providing financial support to U.S.               Politicians we empower inhibit urgently needed legislation
                                                  by promoting the denial of climate change, engendering a
federal candidates who are using                  U.S. population exceptionally high on climate denial and
their considerable power to actively              disengagement77 and undermining the public support
                                                  necessary to generate effective policy adoption.78 Addi-
work against the SDGs and the                     tionally, political agents that appeal to scientific uncertain-
1.5°C temperature limit.74                        ty to prevent action may be causing scientists themselves
                                                  to take positions on the crisis that they would be less
                                                  likely to take in the absence of such outspoken opposition
                                                  that our political activity amplifies.79
                                         BARRIERS
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POLICY
Beyond spreading open hostility to the scientific
community,80 building courts opposed to climate
activism,81 writing anti-climate legislation,82 and block-
ing federal actions that would help displace oil, natural
gas and coal,83 U.S. politicians we support provide
subsidies to the fossil fuel industry conservatively
estimated to be at about $20 billion per year.84 Last
year, $70 billion in coronavirus relief funds went to
support high-carbon activities, with $10 - $15 billion in
direct federal support going to the fossil fuel industry.85
These fossil fuel subsidies generate production from
fields that would be unviable without government aid,
further lock in fossil fuel dependency, and make
investment in clean alternatives seem less competitive
by artificially lowering the cost of producing dirty
energy.86 To help ensure these subsidies— and control,
delay, or block climate policy87—the five largest oil and
gas companies have spent about $200 million each
year on climate-related branding and lobbying since
the Paris Agreement.88,89 Of the top 15 recent recipients      “This whole global
of funds from oil and gas, our PAC has financially
backed a majority.90 This activity muddles RELX’s              warming myth will
assertion that we support progressive environmental
legislation.91
                                                               be exposed as what
As the Intergovernmental Panel on Climate Change
                                                               it really is.”
(IPCC) has reported, “1.5°C implies very ambitious,
internationally cooperative policy environments.”92                    — James Lankford (OK)
RELX is impeding this type of policy environment,                        REPAC funds recipient
despite recognizing that integration of climate change
measures into national policies is critical to achieve
climate action.93 While RELX employees have been
encouraged to take individual action in order to
counter the impacts of REPAC’s work, for climate
action to be effective, “individual-level mitigation…must
be accompanied by mitigation efforts from industry,
commerce, and government.”94




       Investments
Investors can drive climate action by implementing
strategies built upon established responsible investment
principles that filter out companies with poor environ-
mental performance and utilizing portfolio companies
willing to develop investment options in line with
science-based targets. BlackRock, an investment firm
that handles more money than any in the world, recently
concluded that portfolios experience “no negative
financial impacts from divesting from fossil fuels. In fact,
they found evidence of modest improvement in fund
return.”95 Yet the current makeup of pension-fund
investment positions suggests that fossil-fuel-related
companies are highly prominent in their portfolios.96

This barrier, as it pertains to investments such as our
401K plans (U.S.) and the Reed Elsevier pension (U.K.),
will be considered in a future version of this report.
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POLICIES
“ Iresponsibility
    don’t think [profitability] stops us or absolves us from the
                  of addressing the longer-term issues that
   society faces, like on the environment. So, what kinds of
   commitments can we make in terms of our indirect
   environmental performance?”

                                    —Dr. Marcia Balisciano,
                                     Global head of corporate
                                     responsibility (RELX) 1




   Beyond the immense environmental
   considerations, the above activities
   generate additional substantial risks
   for our business (see Appendix B). But
   the company has adopted ambitious
   policies and commitments that can
   guide us in overcoming these barriers.
   Successfully addressing any oversights
   being made regarding these policies
   will bring our collective goals within
   reach. Just like the SDGs, many of
   these policies are integrated and inter-
   related, so efforts to fulfill any one
   commitment intersects and interacts
   with efforts to meet others.




   Climate Policies                                    . . . . . . . . . . . . 17


   UN Principles                              . . . . . . . . . . . . . . . . . 18


   Additional
   RELX Policies                              . . . . . . . . . . . . . . . . . 20
                                          POLICIES
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       Climate Policies
CL I MATE C HANGE STAT EMENT 2
WE A RE STI LL IN DECLARATION 3
R E SP O N SI BLE MEDIA FORUM’ S
CL I MATE PACT 4

These include pledges to:



   Support climate action and the rapid reduction of
   greenhouse gases to meet the Paris Agreement

   Implement challenging science-based targets in line
   with 1.5°C global warming

   Drive climate-friendly behavior

   Accelerate the transition to a clean energy economy

   Advocating ambitious, robust, and equitable policies
   on climate change that respond credibly to the scale
   and urgency of the crisis

   Transparent reporting and disclosure of climate
   performance

   Partnerships with industry, government and
   non-governmental organizations to support
   mitigation of and adaptation to climate change




R E L X G LO BAL ENVIRONMENT P OLICY 5


This policy commits all areas of the business to minimize
“contribution to climate change, in line with the scale of
action deemed necessary by science.” We’re meant to
ensure that “each business unit [is] "accountable for
ensuring compliance with the policy,” recognizing the
impact of “consumer use of [our] products and services.”



R E ED EXHI BIT IONS
S U STA I N A BILITY CH ARTER


Reed Exhibitions UK’s Sustainability Charter is aligned to
four of the UN Sustainable Development Goals, including
SDG13’s 1.5°C target, and is being adopted as a minimum
standard by Reed Exhibitions worldwide6 to ensure we’re
working with “partners who demonstrate a responsible
approach to managing their environmental impact.”7
                                          POLICIES
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       UN Principles
The consequences of climate change,
“which disproportionately affect low-in-
come countries and poor people in
high-income countries, profoundly
affect human rights and social justice”8
and are addressed by these principles.


G UI DI N G PRINCIPLES ON BUSIN E SS
A ND HUMA N RIGH TS 9

They require that we:



                                                             IDENTIFY
                                                             AND ASSESS
    Identify and assess actual or potential human
    rights impacts with which we may be involved
    either through our own activities or as a result of
    our business relationships. This assessment should
    draw on internal and/or independent external
                                                             ACTUAL OR
                                                             POTENTIAL
    human rights expertise and involve meaningful
    consultation with potentially affected groups.
    Particular attention is to be paid to the rights and
    needs of individuals from groups or populations
    that may be at heightened risk of becoming
                                                             HUMAN
                                                             RIGHTS
    vulnerable or marginalized. If concerns are raised
    by or on behalf of affected stakeholders, the
    company should be prepared to communicate it
    externally.

                                                             IMPACTS
                                                             WITH WHICH
    Establish or participate in effective operation-
    al-level grievance mechanisms for individuals and
    communities who may be adversely impacted to
    focus on reaching solutions. Where formal judge-
    ment is needed, it should be provided by a
                                                             WE MAY BE
                                                             INVOLVED
    legitimate, independent third-party mechanism.




                                                             EITHER
                                                             THROUGH
UN I VERSA L D ECLARATION
O F HUMA N RIGHTS

                                                             OUR OWN
                                                             ACTIVITIES
As noted in an IPCC special report, “climate-related
risks to health, livelihoods, food security, water supply,



                                                             OR AS A
human security, and economic growth are projected to
increase with global warming of 1.5°C and increase
further with 2°C.”10

RELX has committed to upholding the Universal
                                                             RESULT
                                                             OF OUR
Declaration of Human Rights,11 which states that
“everyone has the right to a standard of living


                                                             BUSINESS
adequate for the health and well-being of himself and
of his family, including food, clothing, housing and
medical care and necessary social services, and the
right to security...” 12
                                                             RELATION-
                                                             SHIPS.
                              POLICIES
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A MAJORITY                            U.N . GLOBA L COM PAC T ( U NG C)


OF PEOPLE                             RELX is a lead participant in the United Nations Global



CALL FOR
                                      Compact, which states, at a minimum, businesses “must
                                      act with due diligence to avoid infringing the rights of
                                      others. This means they must address any negative


WIDE-RANG-                            human rights impacts related to their business.”13 Three
                                      aspects to note:


ING ACTION                            i. Precaution
                                      We are to support a precautionary approach to environ-
                                      mental challenges, which emphasizes prevention rather
                                      than remediation. Any lack of full scientific certainty is
                                      not a reason to postpone measures “where there are
                                      threats of serious or irreversible damage.” With a
                                      reasonable suspicion of harm, deciding what’s accept-
                                      able risk is meant to consider “acceptability to the
                                      public.”14 (The world’s largest survey of public opinion
                                      on the climate emergency found “a majority of people
                                      call for wide-ranging action.”15)

                                      ii. Complicity
                                      The UNGC defines complicity as an act or omission that
                                      facilitates another, in some way, to carry out a rights
                                      abuse, and the knowledge by the company that its act
                                      or omission could provide such help. Complicity can
                                      arise from: (1) Direct complicity—when a company
                                      provides goods or services that it knows will be used to
                                      carry out the abuse. (2) Beneficial complicity—when a
                                      company benefits from human rights abuses even if it
                                      did not positively assist or cause them. (3) Silent
                                      complicity—when the company is silent or inactive in
                                      the face of systematic or continuous human rights
                                      abuse.16

                                      iii. Reporting
                                      RELX’s communication on progress regarding our
                                      adherence to the UNGC states that we have “place[d]
                                      responsibility for execution of sustainability strategy in
                                      relevant corporate functions (procurement, government
                                      affairs, human resources, legal, etc.) ensuring that no
                                      function is conflicting with company sustainability
                                      commitments and objectives.” The report also indicates
                                      we’ve met all criteria for the GC Advanced level, apply-
                                      ing the GRI (Global Reporting Initiative) standards.”17

                                      These GRI standards call for disclosing an organization’s
                                      direct or indirect support for political causes and
                                      reporting “the extent to which an organization’s political
                                      contributions are in line with its stated policies, goals, or
                                      other public positions.”18
                                          POLICIES
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       Additional RELX Policies
R E PAC PO L I CY                                             E T HIC S COD E

In choosing politicians to support, the PAC’s policy is to    RELX maintains a robust Ethics Code22 that guides us to
consider a candidate’s leadership, interest, position,        achieve our business goals in an open way, reiterates our
and/or voting record on issues that impact our business       support of the environmental and human rights goals of
and its employees—currently defined as IP, technology,        the UNGC, and endorses a sensitivity to the fact that our
open access, and data issues. The exclusion of the SDGs,      behavior defines our reputation. Because it is better to
the climate crisis, and corresponding human rights            be accurate and uphold our reputation and credibility,
issues indicates that we are falling short of upholding       we are prohibited from making false or misleading oral
our commitments above and overlooking these issues as         or written statements or omissions about our products,
being important to the business and its employees.            services, financial condition, policies, security, privacy, or
RELX and its employees are increasingly threatened by         compliance practices with whomever we communicate.
the same issues that will severely challenge or cripple       The Ethics Code instructs that we always follow “the
the world’s diminishing capacity to support life and          spirit of the Code” and suggests, if there’s a question
human flourishing. Potential benefits to risk assessment      about conduct, that we ask ourselves these or similar
services, which we have theorized in a world of drastic       questions:
climate change,19 will in all likelihood struggle to offset
the disruption to business caused by rising sea levels,
ecosystem collapse, mass migration, disease, food and
water scarcity, and political turmoil; in considering how         Will it promote or could it be detrimental to
to engage on public policy, the process of evaluating             my ethical reputation or that of the company?
what should be considered impactful to the business
and its employees remains disengaged from the issues              Could it potentially bring harm, embarrass-
driving our goals.20                                              ment, or humiliation to a colleague, customer,
                                                                  or unfairly disadvantage a competitor?

                                                                  Could it even give the appearance of being
R E L X I N C LUSION AND                                          unethical or unlawful?
D I VERSI TY POLICY                                               How would a report of my actions or
                                                                  decision appear to others if presented
                                                                  on the evening news?
REPAC is an employee group that excludes non-ex-
empt/hourly employees (who are generally lower-com-               Does it feel morally and ethically proper?
pensated) and all non-U.S. citizens in influencing policies
that have impacts on our global workforce and their               Will you have to lie or bend the truth to justify
communities. This is at odds with the spirit of our current       your action?
I&D policy, which reinforces “a workplace that is inclu-
sive, fair and equitable, and where all employees are
respected and valued and where our employees have
equal opportunities.”21                                       OPE R AT IN G PR IN C IPLE S

                                                              As reflected in this report, RELX promotes a culture
                                                              where we can speak up and report concerns. These
                                                              principles also ask that we act in conformity with our
                                                              policies, hold ourselves and each other accountable,
                                                              grow our business with integrity, incorporate ethics
                                                              into all our actions, and speak out for what is right.23
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PROGRESS
                                                                     “ Corporate  responsibility is definitely a work in
                                                                       progress. There’s no time when you can say
                                                                         you’ve reached an end point. It’s continually
                                                                         evolving, responding to changes in the
                                                                         company and the world.”

                                                                                  —Dr. Marcia Balisciano, Global head
                                                                                   of corporate responsibility (RELX)



This report was compiled with the intention      Pledges will only deliver the 1.5°C target if plans are
                                                 clear, robust and swiftly implemented, so that emissions
of helping to accelerate the environmental       fall substantially over this decade.3 The fossil fuel
progress being made across RELX. To date         production we are currently accelerating is impacting
                                                 greenhouse gas production that will be taking place
we have exceeded certain 2010-2020 envi-         through 2030 and well beyond. In order to play our part,
ronmental targets, invested in environmen-       we must take immediate ownership of the downstream
                                                 impacts of the entire business. For many companies,
tal products and services, reduced loca-         more than 80% of their greenhouse gas impacts occur
tion-based carbon emissions by 64%, and          outside of their own operations,4 so tackling these
                                                 emissions is the most important step that we can take to
cut our energy and fuels by 52%. Great
                                                 fighting climate change. Our aim to ensure the protec-
attention gets paid across RELX to such          tion of society5 and prosperity for all people6 cannot be
environmental achievements, but very little      achieved without participating in a swift, managed
                                                 decline for the fossil fuel industry, with a yearly decline
to the steep challenges that remain. This is     in fossil fuel production.
unfortunate given that dissemination of
                                                 Human activity is undermining the planet’s ability to
more comprehensive analyses of our place         sustain life, with the companies most responsible
in the climate emergency would create            rendering governments ineffective at addressing it and
                                                 utilizing perception management to continue business
opportunities for more colleagues to con-        as usual. It would be tragic for RELX to go down that
structively engage in the effort. Corporate      same path, overlooking our science-based pledges and
                                                 the global community we serve. We can pivot by
behavior is known to improve when a com-         immediately winding down and disengaging from
pany’s environmental, social, and gover-         environmentally destructive aspects of our business,
                                                 prioritized by climate impacts and whether they harmo-
nance information is exposed to greater
                                                 nize with corporate policies and commitments. This is an
internal and external examination, with a        opportunity to differentiate ourselves as climate leaders,
direct link between transparency and per-        gain a competitive edge by moving to the forefront of
                                                 the transition to a low-carbon economy, increase
formance.1 We will be slower to exercise our     innovation, build resilience against regulation, raise
bias for acting fast and pivoting if wrong2 if   investor confidence, safeguard our reputations, and
                                                 secure our core mission to benefit society.
we are not collectively focused on the
remaining critical gaps between our values
and our performance.
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A P P EN DI X A
CLIMATE STATEMENTS

RELX

“We agree with the overwhelming scientific consensus that human activity is contributing to
climate change…The Paris Climate Agreement is our best hope for avoiding dangerous climate
change…We support global efforts to mitigate climate change through the rapid reduction of
greenhouse gas emissions, aiming to achieve net zero emissions before 2050.”1


CL I M AT E P OS I T I O NS O F R E L X- S U P P O RT E D PO LIT ICIANS (2019):

Mitch McConnell                                 Thom Tillis                                     James Lankford*
“For everybody who thinks [the                  Voted NO on an amendment that said              "This whole global warming myth will be
planet’s] warming, I can find somebody          changing global temperatures are the            exposed as what it really is—a way of
who thinks it isn't."                           result of human activity. Was one of the        control more than anything else."
                                                senators who signed a letter urging
“Handcuff[ing] the U.S. economy                 President Trump to exit the Paris               Voted NO on an amendment that said
through the ill-fated Paris deal will go        agreement.                                      changing global temperatures are the
nowhere here in the Senate.”                                                                    result of human activity.

Tom Cotton*                                     Cory Gardner*                                   One of four senators to condemn the
                                                                                                National Science Foundation for funding
“Why would we change the way we live            Voted five times to block limits on
                                                                                                a program designed to increase climate
our life on a fundamental, civilizational       carbon pollution, seven times to protect
                                                                                                reporting by meteorologists, calling it
level based on computer models?...We            billions in subsidies for fossil fuels, seven
                                                                                                “propagandizing.”
should be building more [coal plants]...        times to undermine scientific reviews,
We should be expanding exploration for          and 10 times to make it harder to
                                                                                                Voted to prevent the Pentagon from
oil and gas.”                                   establish or enforce environmental
                                                                                                considering the national security
                                                protections.
                                                                                                impacts of global warming.
Steve Daines*
                                                Roy Blunt*                                      Floated an amendment to an energy
"To suggest that [climate change is]                                                            appropriations bill that would have
human-caused is not a sound scientific          "There isn't any real science to say we         blocked funding for research related to
conclusion."                                    are altering the climate path of the            the social costs of carbon pollution.
                                                earth.”
I think the jury's still out, in my opinion.”
                                                In 2015, Blunt introduced an amend-             * Signatory to the No Climate Tax
Response to a question on whether
                                                ment to the Senate that sought to               Pledge, which opposes any legislation
human activity is contributing to climate
                                                nullify a previous climate change               relating to climate change that
change (NPR)
                                                agreement between the United States             includes a net increase in government
                                                and China to reduce carbon emissions            revenue. Over 1/4 of 2019 REPAC
“Withdrawing from [the Paris Agree-
                                                and in 2017 praised President Donald            recipients have signed the pledge.
ment] is good news for Montanans.”
“Coal keeps the lights on. It will              Trump's decision to withdraw from the
continue to power the world for                 Paris Climate agreement.
decades to come.”
                                                David Perdue
Marsha Blackburn                                “The scientific community is not in total
I don’t think you will see me being             agreement about whether mankind has
persuaded that climate change is a              been a contributing factor.”
genuine threat.”

“I do not accept the theory of                  Ron Johnson
climate change.”                                “I absolutely do not believe that the
                                                science of man-caused climate change
                                                is proven. Not by any stretch of the
Marco Rubio                                     imagination. I think it's far more likely
“I don't think there's the scientific           that it's just sunspot activity, or
evidence to justify [climate                    something just in the geologic eons of
change].”                                       time where we have changes in the
                                                climate.”
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A P P EN DI X B
RISKS



“Without clarification —                        BRAND
                                                RELX is aware there exists a threat to
                                                                                                investors and detrimental to the asset
                                                                                                management industry’s credibility” and
and real enforcement —                          our brands; as the impacts of ecologi-          that they are “ready to vote against the
                                                cal devastation become more                     re-election of directors if companies
net zero will become an                         apparent, we’ve acknowledged “public            had not effectively managed or
                                                sentiment may favour those organisa-            disclosed risks related to the depletion
empty slogan that gov-                          tions that took action to limit the             of the world's natural resources.”17
ernments, corporations                          impacts of climate change.”5                    BlackRock intends to “flag these
                                                                                                holdings for potential exit in our
and investors can use to                        The scientific community, which our             discretionary active portfolios because
                                                business is dedicated to serving, may           we believe they would present a risk to
greenwash emissions as                          find objectionable any actions, services        our clients.”18
                                                and products that ignore or have the
usual…Fudging a net                             effect of worsening the crisis to which         WORKFORCE
zero commitment                                 the science is speaking. Our endorse-
                                                ment of the scientific consensus, “that
                                                                                                Our corporate responsibility mandate
                                                                                                to reduce any negative effects of
doesn’t reduce emis-                            we must reduce the quantity of
                                                absolute greenhouse gases in the
                                                                                                conducting our operations helps us to
                                                                                                strengthen our reputation and “attract
sions, exacerbates the                          atmosphere,”6 when contrasted with              and retain the best people.”19 However,
                                                the company acting as a driver of new           we may fail to recruit or retain
climate crisis and emits                        oil and gas production, creates                 employees who feel too keenly the
                                                sufficient dissonance to reasonably call
cynicism, which threat-                         our credibility into question. Certain
                                                                                                disproportion between our stated
                                                                                                aspirations and some of the current
ens the political momen-                        short-term business priorities are a
                                                major threat to the long-term
                                                                                                impacts of our business.

tum generated by scien-                         reputations, success, and value of our          Some workers at Elsevier are recruited
                                                journals, especially those held up as           to be brand ambassadors, as “the most
tific warnings and popu-                        our premium brands.                             trusted source of truth” about the
lar demands for action.”2                       CUSTOMERS and PARTNERS
                                                                                                company and “the values we add to
                                                                                                society.”20 This program may generate
                                                Our sales teams are encouraged to use           worker unease if any public statements
— Rachel Kyte, dean of the Fletcher School      our fidelity to the SDGs and the                they’re being asked to make about our
at Tufts University and a climate adviser for   Corporate Responsibility report as a            businesses are in any way misleading.
the U.N. secretary-general                      selling point, demonstrating the high           Given political support for actions that
                                                level of interest that our partners,            are impeding or threatening social
Besides deepening the climate                   sponsors, and clients have in these             equity—such as LGBTQ+ rights,
                                                issues.7 Many of the universities and           women’s rights, voting rights, climate,
emergency, any oversights pertain-              customers we engage with are aligning           and other concerns addressed by the
ing to our policies or impacts of our           themselves with the SDGs (such as               SDGs —we may be putting brand
broader corporate value chains                  Carnegie Mellon,8 University of                 ambassadors in a position to make
                                                California,9, 10 University of Florida,11 and   public statements about the company
carry substantial organizational                United Nations University12) and                that some could reasonably regard as
risks. RELX recognizes that our                 requiring that suppliers are similarly          inaccurate and thus be harmful to
customers “are increasingly aware               conforming to these and other ethical           employee reputations.
of environmental issues and, as a               standards. Many sponsors, speakers,
                                                and visitors to our conferences geared          ECONOMIC
provider of leading environmental               toward achieving a carbon neutral               Given all the investment of resources
information, it is incumbent on us              future likely share such concerns.13            being put into building partnerships
to show good practice.”3 Backlash               These and other business relationships          and products that empower the fossil
                                                bring about potential hazards if any            fuel industry, RELX is also exposing
in such a marketplace pertaining to             such individual or organization were to         itself to a collapse of the “carbon
a company’s effect on greenhouse                discern inaccuracies in the policies we         bubble”: the mass of fossil fuel-based
gas emissions can come from                     endorse.                                        assets which would largely become
various sources such as consumers,                                                              worthless if governments force through
                                                OWNERSHIP                                       a transition to a “CO2-free” economy.
investors, peers, suppliers, media,             As the emergency deepens, investor              While such a political sea change
employees, and other stakeholders.              activism is becoming increasingly               seems uncertain at present, such shifts
As we market our value-based                    popular14 and investors are seriously           in regulations and markets— essential
objectives, our aim to “meet the                weighing the risks that climate change          to properly address this emergen-
                                                and the low-carbon transition pose to           cy—can happen very swiftly.
expectations of our customers and               their portfolios.15 The general public
other stakeholders”4 becomes                    holds a 29% stake in RELX, which may            RELX has “incorporated [climate
increasingly vulnerable to scrutiny.            be large enough to also make an                 change] scenarios into our climate
                                                impact on company policies if                   change risk assessment and [has] not
                                                motivated to do so.16                           identified any significant risks to the
                                                                                                business emerging from scenario
                                                The largest institutional shareholder of        planning.” Yet the science that we
                                                RELX is BlackRock, which owns about             publish is continually identifying
                                                10% of shares. With considerable                “severe and irreversible impacts” that
                                                ongoing pressure from environmental             are destroying the “foundations of our
                                                activists, last year BlackRock voted            future well-being.”21 These impacts will
                                                against 62 board directors that it felt         be felt across the global economy and
                                                were not taking climate change                  will put extreme pressure on almost
                                                seriously enough and it has declared it         every revenue stream of our business-
                                                would vote for shareholder resolutions          es. As the UNGC states, “it is more
                                                on climate change. They announced               cost-effective to take early action to
                                                this year that “greenwashing is a risk to       ensure that environmental damage
                                                                                                does not occur.”22
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N OTES


SUMMARY

1    “FAQ Chapter 5.” IPCC, https://www.ipcc.ch/sr15/faq/faq-chapter-5/

2    Huang, M. and Zhai, P., “Achieving Paris agreement temperature goals requires carbon neutrality by middle century with far-reaching
     transitions in the whole society.” Advances in Climate Change Research, March 19, 2021,
     https://www.sciencedirect.com/science/article/pii/S1674927821000435

3    Bos, K. and Gupta, K., “Stranded assets and stranded resources: Implications for climate change mitigation and global sustainable
     development.” Energy Research and Social Science, October 2019,
     https://www.sciencedirect.com/science/article/pii/S2214629618305383

4    “ScienceDirect Corporate Edition: Oil and Gas.” Elsevier,
     https://www.elsevier.com/__data/assets/pdf_file/0007/907549/SD_Fact-Sheeet_Oil-and-Gas_WEB.pdf

     “By harnessing the power of integrated knowledge, Oil & Gas researchers are accelerating their discoveries and developments. Our Oil & Gas
     customers are gaining increasing value from ScienceDirect, with unlimited access to an ever-expanding library of interdisciplinary content
     across a wide range of subject areas.”

5    RELX Corporate Responsibility Report 2020,
     https://www.relx.com/~/media/Files/R/RELX-Group/documents/responsibility/download-center/2020-cr-report.pdf

6    “Climate change, uncertainty, mitigation and adaptation strategies.” Elsevier,
     https://www.journals.elsevier.com/economic-analysis-and-policy/call-for-papers/climate-change-uncertainty-mitigation-adaptation


GOALS

1    Addressing the World’s Most Challenging Problems. RELX, https://www.relx.com/corporate-responsibility/engaging-oth-
     ers/cr-news-and-viewpoints/addressing-the-worlds-most-challenging-problems

     “Across RELX Group there is strategic alignment with the SDGs.”

2    “Human Rights and the 2030 Agenda for Sustainable Development.” UN Human Rights Office of the High Commissioner,
     https://www.ohchr.org/en/issues/SDGS/pages/the2030agenda.aspx

3    RELX Corporate Responsibility Report 2020, https://www.relx.com/~/media/Files/R/RELX-Group/documents/res-
     ponsibility/download-center/2020-cr-report.pdf

     “We’re committed to doing our part to advance these essential objectives for the world.”

4    “Empowerment, Inclusion, Equality: Accelerating sustainable development with human rights.” UN Human Rights Office of the High
     Commissioner, https://www.ohchr.org/Documents/Issues/MDGs/Post2015/EIEPamphlet.pdf

5    “The Media Climate Pact.” Responsible Media Forum, https://responsiblemediaforum.org/pactCommitments

     “These are the companies that have signed The Media Climate Pact.” Responsible Media Forum,
6    https://responsiblemediaforum.org/pactSignatories

7    RELX Corporate Responsibility Report 2020,
     https://www.relx.com/~/media/Files/R/RELX-Group/documents/responsibility/download-center/2020-cr-report.pdf

     “We agree with scientific opinion, as reflected in our journals and other content,
     that we must reduce the quantity of absolute greenhouse gases in the atmosphere
     to avoid the most significant impacts of climate change.”

8    “The Production Gap: 2020 Report.” The Production Gap,
     https://productiongap.org/wp-content/uploads/2020/12/PGR2020_FullRprt_web.pdf                        Big oil and gas capital
                                                                                                           expenditure (2019)
9    Huang, M. and Zhai, P., “Achieving Paris agreement temperature
     goals requires carbon neutrality by middle century with far-reaching
     transitions in the whole society.” Advances in Climate Change Research,
     March 19, 2021,
     https://www.sciencedirect.com/science/article/pii/S1674927821000435

10   Bos, K. and Gupta, K., “Stranded assets and stranded resources:
     Implications for climate change mitigation and global sustainable
     development.” Energy Research and Social Science, October 2019,
     https://www.sciencedirect.com/science/article/pii/S2214629618305383




                                                                                                                                                Source: IEA data,
                                                       Renewables, CCS,               Fossil fuels                                           adapted from graph
                                                       and biofuels 0.80%             99.20%                                                     by Simon Evans
              Case 1:24-cv-12022-PBS Document 1-1 Filed 08/06/24 Page 26 of 35

BARRIERS


1    Kusnetz, N., “What Does Net Zero Emissions Mean for Big Oil? Not What You’d Think.” Inside Climate News, July 16, 2020,
     https://insideclimatenews.org/news/16072020/oil-gas-climate-pledges-bp-shell-exxon/

2    R&D Solution for Oil and Gas. Elsevier, https://www.elsevier.com/rd-solutions/oil-and-gas

3    R&D Solutions for OIL & GAS EXPLORATION & PRODUCTION: The Best Path to Operational Excellence May Require Being More
     Innovative. Elsevier,
     https://www.elsevier.com/__data/assets/pdf_file/0008/229373/RDS_OG_EP_WP_-Best-Path-to-Operational-Excellence_DIGITAL.pdf

4    Digital Transformation Initiative: Oil and Gas Industry. World Economic Forum, January 2017,
     http://reports.weforum.org/digital-transformation/wp-content/blogs.dir/94/mp/files/pages/files/white-paper-2017-dti-oil-gas.pdf

5    R&D Solutions for OIL & GAS EXPLORATION & PRODUCTION: The Best Path to Operational Excellence May Require Being More
     Innovative. Elsevier,
     https://www.elsevier.com/__data/assets/pdf_file/0008/229373/RDS_OG_EP_WP_-Best-Path-to-Operational-Excellence_DIGITAL.pdf

     “[I]mprovement in scientific and engineering technologies has helped increase productivity and efficiency above ground (e.g., drilling fluid
     treatment and waste management), as well as below ground (e.g., horizontal drilling, proppant, and fluid makeup), which when taken together
     add up to significant gains in operational efficiency and production.”

6    Esri Partner Network: Elsevier. ESRI, https://www.esri.com/partners/elsevier-a2Tf20000051lRoEAI

7    Geofacets Connector for Petrel and Studio. Elsevier,
     https://www.elsevier.com/__data/assets/pdf_file/0003/91596/GeofacetsConnector_usermanual_2014.pdf

8    “Geofacets helps oil and gas companies do more with less.” Elsevier, https://www.elsevier.com/solutions/geofacets/oil-and-gas

     “Most of the top mining companies subscribe to Geofacets” (https://www.mining-technology.com/features/qa-elsevi-
     er-on-bringing-mapstands-data-into-geofacets/)

9    “Knovel helps oil and gas companies achieve operational excellence and reduce risk in an unpredictable environment.” Elsevier,
     https://www.elsevier.com/solutions/knovel-engineering-information/who-uses-knovel/oil-and-gas

10   “Geofacets: Uncovering Diverse Insights.” Elsevier, https://www.elsevier.com/solutions/geofacets/geofacets-uncovering-diverse-insights

11   “Oil and Gas: Knovel.” Elsevier,
     https://www.elsevier.com/__data/assets/pdf_file/0003/96186/OG-EP-KN-BRO-for-Oil-and-Gas_Final-Web.pdf

12   “Elsevier and the Bureau of Economic Geology collaborate to help oil and gas companies uncover new insights in Texas and the Gulf
     Coast.” Elsevier, https://www.elsevier.com/about/press-releases/-
     science-and-technology/elsevier-and-the-bureau-of-economic-geology-collaborate-to-help-oil-and-gas-companies-uncover-new-insigh
     ts-in-texas-and-the-gulf-coast

     In 2019, shale oil production in the U.S. was projected to jump 67% from 2019 levels through 2030, thanks to various methods, such as
     hydraulic fracturing and horizontal drilling. (https://www.aa.com.tr/en/energy/oil-up-
     stream/us-shale-oil-production-to-surge-67-by-2030/26577) With nearly 40% of CO2 emissions unlocked by new U.S. oil and gas drilling
     from 2018 to 2050 set to come from the Permian Basins, the greenhouse gas pollution enabled by production there through 2050 could
     exhaust close to 10% of the entire world’s carbon budget for staying within 1.5°C of warming; by 2029, the Permian Basin could see nearly as
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     events. This could increase the market for our products serving this part of the insurance market.”

20   Misaligned political contributions have affected companies in various ways:

     Target, which built a reputation for gay-friendly policies, faced boycotts in 2010 after contributing $150,000 to a super PAC backing a
     candidate who opposed gay marriage. The company apologized after initially saying the donation fit into Target’s strategy of giving to
     pro-business candidates ‘on both sides of the aisle.

     Chevron was forced to adopt a policy in 2020 requiring that it disclose how its lobbying efforts align with the goals of the Paris Agreement.

     After the riot at the U.S. capitol, many companies made statements indicating an intention to ensure their PACs reflect their values:
     Archer-Daniels-Midland, First Energy, McDonald’s, Valero Energy, Nike, Cisco, United Airlines, Edward Jones Investments, Mastercard,
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